         Case 2:05-cv-00276-HGD Document 1 Filed 02/04/05 Page 1 of 10                            FILED
                                                                                         2005 Feb-07 PM 04:02
                                                                                         U.S. DISTRICT COURT
                                                                                             N.D. OF ALABAMA


                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF ALABAMA
                              SOUTHERN DIVISION

LUCY B. WATSON,                                   )
                                                  )
       Plaintiff,                                 )
                                                  )
vs.                                               )
                                                  )      CV NO:__________________
CAPITAL ONE,                                      )
                                                  )
          Defendant.                              )

                                    INTRODUCTION

       This is an action brought by the Plaintiffs, individual consumers, for actual and
statutory damages, injunctive relief, attorneys’ fees, and costs for Defendant’s violations of
the Fair Debt Collection Practices Act, 15 U.S.C. § 1692, et seq. (hereinafter “FDCPA”).
Plaintiff also seeks compensatory and punitive damages for the Defendant’s violations of
Alabama state law as set forth herein.

                                     JURISDICTION

1.     Jurisdiction of this Court arises under 15 U.S.C. § 1692k(d) and 28 U.S.C. §§ 1331,
       1332, 1337, and 1367. Declaratory relief is available pursuant to 28 U.S.C §§ 2201
       and 2202.

2.     Jurisdiction of this court for the pendent claims is authorized by F.R.Civ.P. 18(a).

3.     Venue is proper in that the Defendant transacts business in Jefferson County,
       Alabama, and the Plaintiff resides in Jefferson County, Alabama.

                                          FACTS

4.     The Plaintiff, Lucy B. Watson, is a resident and citizen of the State of Alabama and
       is over the age of twenty-one (21) years. She is a resident of Birmingham in Jefferson
       County.

5.     The Defendant, Capital One, whose correct corporate status is unknown to Plaintiff
       at this time, was at all times relevant herein conducting business in Jefferson County,
       Alabama.
       Case 2:05-cv-00276-HGD Document 1 Filed 02/04/05 Page 2 of 10




6.    The Defendant extended credit in the form of a credit card, account number 5178-
      0523-2030-5374, to an individual assuming Plaintiff’s name and identity, without the
      authorization of the Plaintiff.

7.    Said account became delinquent and due.

8.    The Defendant represented, and continues to represent, to national credit bureaus and
      other third parties that the Plaintiff is indebted to Defendant, that the Plaintiff is past
      due on the above-referenced account, and that Plaintiff has not made timely payments.


9.    Such statements are false and were false at the time made in that the Plaintiff never
      authorized, opened or used such account, never was indebted to the Defendant on
      such account, and never was late or past due on such account.

10.   Plaintiff further advised Defendant that the debt was the result of fraud and forgery,
      and requested Defendant to provide any and all documentation supporting that the
      debt was Plaintiff's responsibility.

                                COUNT ONE
                     INVASION OF THE RIGHT OF PRIVACY

11.   The Plaintiff adopts the averments and allegations of paragraphs 1 through 10
      hereinbefore as if fully set forth herein.

12.   The Defendant undertook and/or directed a series of communications to the home of
      the Plaintiff constituting an invasion of privacy, as set out and described in the
      common law of the State of Alabama.

13.   Defendant intruded into the Plaintiff’s physical solitude by making communications
      to the Plaintiff’s home after repeated requests that the Defendant no longer contact her
      and after being repeatedly informed that Plaintiff did not owe any money to the
      Defendant.

14.   Said communications were made in disregard for the Plaintiff's right to privacy.

15.   Said communications and invasions were intentional, willful, and/or malicious, were
      systematic and continuous in number, and were made to force, coerce, harass,
      frighten, embarrass and/or humiliate the Plaintiff into paying a debt she did not owe.

16.   As a proximate consequence of said invasion of the right of privacy, the Defendant
       Case 2:05-cv-00276-HGD Document 1 Filed 02/04/05 Page 3 of 10



      has caused the Plaintiff to suffer worry, shame, humiliation, loss of sleep, anxiety,
      nervousness, sickness, physical and mental suffering, pain, and/or anguish for which
      she seeks compensatory and punitive damages.

                                 COUNT TWO
                            PLACED IN A FALSE LIGHT

17.   The Plaintiff adopts the averments and allegations of paragraphs 1 through 10
      hereinbefore as if more fully set forth herein.

18.   The Defendant created an account known as account number 5178-0523-2030-5374
      in the Plaintiff *s name and reported such account as belonging to the Plaintiff.

19.   The Defendant held the Plaintiff up in a false light and made undesirable and negative
      character and credit reputation remarks on or about the Plaintiff by either speaking or
      writing undesirable and negative character and credit reputation remarks about the
      Plaintiff in the national credit reporting media and/or to other third parties including
      collectors.

20.   Said undesirable and negative character and credit reputation remarks were offensive,
      untrue, and inaccurate, and alleged the Plaintiff was in debt to Defendant, and owed
      money to Defendant, and/or had a bad debt with Defendant.

21.   The Defendant knew that the Plaintiff was not responsible for the account and
      disputed the account, and that Plaintiff asserted the account was a fraudulent account.
      The Defendant knew this at the times they published such untrue and negative
      information.

22.   The conduct of the Defendant was objectionable to the Plaintiff and to any reasonable
      person. The Defendant’s actions were willful, reckless, wanton, and/or made with
      malice and resulted in the Plaintiff being unreasonably placed in a false light.

23.   As a proximate cause of the Defendant’s conduct, the Plaintiff was caused to have
      negative credit reports, was subjected to collection calls and activities, and was made
      to suffer worry, public shame and humiliation, loss of sleep, anxiety, nervousness,
      sickness, physical and mental suffering, pain, fear, fright, and/or anguish for which
      she seeks compensatory and punitive damages.

                              COUNT THREE
                      DEFAMATION: LIBEL AND SLANDER

24.   The Plaintiff adopts the averments and allegations of paragraphs 1 through 10
       Case 2:05-cv-00276-HGD Document 1 Filed 02/04/05 Page 4 of 10



      hereinbefore as if fully set forth herein.

25.   The Defendant willfully, wantonly, recklessly and/or maliciously published and
      communicated false and defamatory statements regarding the Plaintiff.

26.   Said communications were false in that Plaintiff was not indebted to the Defendant,
      Plaintiff was not obligated to the Defendant, and Plaintiff did not have a bad debt.

27.   Said false and defamatory statements were communicated to credit reporting agencies,
      and/or other third parties.

28.   At the time said communications were made, the Defendant knew or should have
      known the falsity of the communication, or recklessly disregarded the potential
      inaccuracy of the information, yet knowingly, willfully and/or maliciously
      communicated the falsity to another person and/or entity.

29.   Said false and defamatory statements have harmed the Plaintiff’s credit reputation,
      subjected the Plaintiff to collection efforts by attorneys and/or collectors, and deterred
      third persons from associating with the Plaintiff.

30.   Said communications were oral and/or written.

31.   As a proximate consequence of said defamation, libel and slander, the Plaintiff was
      caused to have negative credit reports, was subjected to collection calls and activities,
      and was made to suffer worry, public shame and humiliation, loss of sleep, anxiety,
      nervousness, sickness, physical and mental suffering, pain, fear, fright, and/or anguish
      for which she seeks compensatory and punitive damages.

                                COUNT FOUR
                       RECKLESS AND WANTON CONDUCT

32.   The Plaintiff adopts the averments and allegations of paragraphs 1 through 10
      hereinbefore as if fully set forth herein.

33.   Defendant recklessly and wantonly extended credit to individuals, who fraudulently
      used the identity of the Plaintiff, and allowed the theft and fraudulent use of Plaintiff’s
      identity.

34.   Defendant recklessly and wantonly failed to remove Plaintiff’s name in connection
      with the debt when they found out who was responsible for the fraud. This subjected
      Plaintiff to unnecessary credit collection/defamation.
        Case 2:05-cv-00276-HGD Document 1 Filed 02/04/05 Page 5 of 10



35.   Defendant recklessly and wantonly failed to adopt policies or procedures to govern
      its actions concerning the following:

      (a)   The thorough investigation and resolution of consumer claims that accounts
            were fraudulently opened in the consumer’s name and/or that accounts were
            fraudulently used, and to limit any damage caused to the victims of such fraud.

      (b)   To make certain that the information disseminated to others (including the
            national credit bureaus and those credit grantors likely to use the information
            provided by those bureaus), is not false, neither libelous nor slanderous, and
            rises to the level of maximum accuracy.

      (c)   To prevent the extension or granting of credit to individuals who fraudulently
            use the identity of others.

36.   Defendant recklessly and wantonly failed to train its employees on its practices,
      policies or procedures concerning the following:

      (a)   The thorough investigation of consumer claims that accounts were fraudulently
            opened in the consumer’s name and/or that accounts were fraudulently used,
            and to limit any damage caused to the victims of such fraud.

      (b)   To make certain that the information disseminated to others (including the
            national credit bureaus and those credit grantors likely to use the information
            provided by those bureaus), is not false, neither libelous nor slanderous, and
            rises to the level of maximum accuracy.

      (c)   To prevent the extension or granting of credit to individuals who fraudulently
            use the identity of others.

37.   As a result of Defendant’s reckless and wanton conduct, the following occurred:

      (a)   Unauthorized credit was extended in Plaintiff’s name;

      (b)   Plaintiff’s identity was stolen and used; and

      (c)   False, embarrassing, odious, misleading and negative information concerning
            the Plaintiff was disseminated to others (including the national credit bureaus
            and those credit grantors likely to use the information provided by those
            bureaus).

38.   As a proximate consequence of said reckless, willful and/or wanton conduct, the
        Case 2:05-cv-00276-HGD Document 1 Filed 02/04/05 Page 6 of 10



      Plaintiff was caused to have negative credit reports, was subjected to collection calls
      and activities, and was made to suffer worry, public shame and humiliation, loss of
      sleep, anxiety, nervousness, sickness, physical and mental suffering, pain, fear, fright,
      and/or anguish for which she seeks compensatory and punitive damages.

                             COUNT FIVE
            INTENTIONAL INFLICTION OF EMOTIONAL DISTRESS

39.   The Plaintiff adopt the averments and allegations of paragraphs 1 through 10
      hereinbefore as if more fully set forth herein.

40.   The Defendant's continual refusal to cease communicating with the Plaintiff was an
      intentional infliction of emotional distress, willfully and intentionally undertaken,
      knowing that the same was designed to abuse and coerce, confuse and create great
      mental and physical pain and damage, so that the Plaintiff would pay debts she did not
      owe the Defendant.

41.   The Defendant committed the acts set out in the above paragraph by directing
      communications to the Plaintiff in the State of Alabama.

42.   As a proximate consequence of said intentional infliction of emotional distress, the
      Defendant have caused the Plaintiff great worry, humiliation, loss of sleep, anxiety,
      nervousness, sickness, physical and mental suffering, pain, and/or anguish.

                                    COUNT SIX
                                NEGLIGENT CONDUCT

43.   The Plaintiff adopts the averments and allegations of paragraphs 1 through 10
      hereinbefore as if fully set forth herein.

44.   Defendant negligently extended credit to individuals who fraudulently used the
      identity of the Plaintiff and allowed the theft and fraudulent use of Plaintiff’s identity.

45.   Defendant negligently failed to remove Plaintiff’s name in connection with the debt
      when they found out who was responsible for the fraud. This subjected Plaintiff to
      unnecessary credit collection/defamation.

46.   Defendant negligently failed to adopt policies or procedures to govern its actions
      concerning the following:

      (a)    The thorough investigation and resolution of consumer claims that accounts
             were fraudulently opened in the consumer’s name and/or that accounts were
        Case 2:05-cv-00276-HGD Document 1 Filed 02/04/05 Page 7 of 10



             fraudulently used, and to limit any damage caused to the victims of such fraud.

      (b)    To make certain that the information disseminated to others (including the
             national credit bureaus and those credit grantors likely to use the information
             provided by those bureaus), is not false, neither libelous nor slanderous, and
             rises to the level of maximum accuracy.

      (c)    To prevent the extension or granting of credit to individuals who fraudulently
             use the identity of others.

47.   Defendant negligently failed to train its employees on its practices, policies or
      procedures concerning the following:

      (a)    The thorough investigation of consumer claims that accounts were fraudulently
             opened in the consumer’s name and/or that accounts were fraudulently used,
             and to limit any damage caused to the victims of such fraud.

      (b)    To make certain that the information disseminated to others (including the
             national credit bureaus and those credit grantors likely to use the information
             provided by those bureaus), is not false, neither libelous nor slanderous, and
             rises to the level of maximum accuracy.

      (c)    To prevent the extension or granting of credit to individuals who fraudulently
             use the identity of others.

48.   As a result of Defendant’s negligent conduct the following occurred:

      (a)    Unauthorized credit was extended in Plaintiff’s name;

      (b)    Plaintiff’s identity was stolen and used; and

      (c)    False, embarrassing, odious, misleading and negative information concerning
             the Plaintiff was disseminated to others (including the national credit bureaus
             and those credit grantors likely to use the information provided by those
             bureaus).

49.   As a proximate consequence of said negligent conduct, the Plaintiff was caused to
      have negative credit reports, was subjected to collection calls and activities, and was
      made to suffer worry, public shame and humiliation, loss of sleep, anxiety,
      nervousness, sickness, physical and mental suffering, pain, fear, fright, and/or anguish
      for which she seeks compensatory and punitive damages.
       Case 2:05-cv-00276-HGD Document 1 Filed 02/04/05 Page 8 of 10



                             COUNT SEVEN
                 FAIR DEBT COLLECTIONS PRACTICES ACT

50.   The Plaintiff adopts the averments and allegations of paragraphs 1 through 10
      hereinbefore as if fully set forth herein.

51.   The Defendant has engaged in collection activities and practices in violation of the
      Fair Debt Collection Practices Act (hereinafter referred to as “FDCPA”) with respect
      to the Plaintiff.

52.   The Defendant violated §1692c(a)(1) by contacting the Plaintiff at a time or place
      Defendant knew or should have known was inconvenient to the Plaintiff.

53.   The Defendant violated §1692c(b) by communicating with a third party without the
      Plaintiff’s’ consent.

54.   The Defendant violated §1692c(c) by continuing to communicate with the Plaintiff
      after receiving notice that the Plaintiff did not owe and refused to pay the debt or
      requested that the Defendant cease all further communications.

55.   The Defendant violated §1692d by engaging in conduct the natural consequence of
      which was to harass, oppress, or abuse the Plaintiff in the following ways:

      (a)    By using language the natural consequence of which is to abuse the hearer in
             violation of §1692d(2).

      (b)    By repeatedly telephoning the Plaintiff with the intent to annoy, abuse, or
             harass the Plaintiff in an effort to coerce them into paying a debt in violation
             of §1692d(5).

56.   The Defendant violated §1692e by recklessly, willfully, and/or intentionally making
      false and misleading representations to the Plaintiff. At the time the Defendant made
      these representations to the Plaintiff, the Defendant knew, or should have known, that
      said representations were false.

57.   The Defendant falsely represented or implied that nonpayment of any debt would
      result in the prosecution and/or court action when the Defendant did not intend to take
      such action in violation of §1692e(4).

58.   The Defendant threatened to take action that could not legally be taken or which they
      did not intend to take in violation of §1692e(5).
        Case 2:05-cv-00276-HGD Document 1 Filed 02/04/05 Page 9 of 10



59.    The Defendant communicated to a third person credit information which was known
       or which should have been known to be false in violation of §1692e(8).

60.    The Defendant failed to communicate that a disputed debt was disputed in violation
       of §1692e(8).

61.    In violation of 15 U.S.C. §1692g(b), after receiving written notification from the
       Plaintiff that the debt was disputed, the Defendant failed to cease collection of the
       debt, or any disputed portion thereof.

62.    As a proximate result of the Defendant’s actions, the Plaintiff was caused to have
       negative credit reports, was subjected to collection calls and activities, and was made
       to suffer worry, public shame and humiliation, loss of sleep, anxiety, nervousness,
       sickness, physical and mental suffering, pain, fear, fright, and anguish for which she
       seeks compensatory and punitive damages.

                       AMOUNT OF DAMAGES DEMANDED

WHEREFORE, PREM ISES CONSIDERED, Plaintiff demands a judgment against
Defendant, CAPITAL ONE, as follows:

       A.     Declaratory judgment that Capital One’s conduct violated the FDCPA, 15
              U.S.C. § 1692, et seq.;
       B.     Actual, compensatory, and punitive damages for violation of the FDCPA and
              related state law claims;
       C.     Statutory damages, costs and reasonable attorney’s fees pursuant to 15 U.S.C.
              § 1692k;
       D.     For such other and further legal and equitable relief as the Court may deem
              just and proper.

Respectfully submitted before this court,


                                                  _____________________________
                                                  Charles J. Lorant (ASB-6465-O76C)
                                                  Attorney for Plaintiff

OF COUNSEL:
ALABAMA INJURY LAWYERS, P.C.
401 Office Park Drive
Birmingham, AL 35223
(205) 870-9848
       Case 2:05-cv-00276-HGD Document 1 Filed 02/04/05 Page 10 of 10



                THE PLAINTIFF DEMANDS A JURY BY TRIAL


                                        ____________________________
                                        Of Counsel


SERVE DEFENDANT BY CERTIFIED MAIL AT:

Capital One
C/o Beverly Crump, Registered Agent
11 South 12 Street
Richmond, VA 23219
